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                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )         PO 122-009
                                          )
DIMARIO LITTLEJOHN                        )
                                     _________

                                     ORDER
                                     _________

      The Court GRANTS the Government’s Motion to Dismiss, (doc. no. 17), pursuant to

Rule 48(a) of the Federal Rules of Criminal Procedure. Accordingly, the Information is

DISMISSED WITH PREJUDICE.

      SO ORDERED this 24th day of June, 2022, at Augusta, Georgia.
